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            1   DONALD H. HELLER, SBN 55717
                DONALD H. HELLER,
            2   A Law Corporation
            3   655 University Ave., Suite 215
                Sacramento, CA 95825
            4   Telephone: (916) 974-3500
                Facsimile:    (916) 927-2009
            5
            6
                Attorneys for John Pierre Quintana
            7
                                            UNITED STATES DISTRICT COURT
            8
                                           EASTERN DISTRICT OF CALIFORNIA
            9
           10    UNITED STATES OF AMERICA,                         CASE NO. 2:10-CR-00327-MCE
           11
                                            Plaintiff,
           12
                 v.                                                ORDER CONTINUING STATUS
           13                                                      CONFERENCE AND EXCLUDING TIME
                 AKBAR BHAMANI,
           14    ZAIN BHAMANI,
           15    KEN SARNA,
                 ALY BHAMANI,
           16    FEROZA BHAMANI,
                 LAILA BHAMANI,
           17
                 JOHN PIERRE QUINTANA,
           18     aka J.P. Quintana, and
                 SHAUN BHAMANI,
           19                         Defendants
           20
           21
           22
           23            Based upon the Stipulation of the parties filed in this matter, the Court finds that:
           24            This case is unusual and complex such that it is unreasonable to expect adequate
           25   preparation for pretrial proceedings, or for a potential trial within the time limits established by

           26   the Speedy Trial Act.
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           27
                ///
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                USA v. BHAMANI, et al.                                                    CASE NO. 2:10-CR-00327-MCE




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            1           The ends of justice are served by the Court excluding such time, so that each defense
            2   counsel may have reasonable time necessary for effective preparation, taking into account the

            3   exercise of due diligence. 18U.S.C. § 3161(h)(7)(B)(iv).
                        The Court finds that each defendant agrees that his or her counsel needs time to review
            4
                the discovery, investigate the facts underlying this case so that counsel can adequate advise their
            5
                respective clients on the appropriate course of action to take in the defense of the charges
            6
                alleged in the indictment.
            7
                        Accordingly, the court finds that time be excluded under the Speedy Trial Act from the
            8
                date of the originally set status conference, October 14, 2010, through the date of the status
            9   conference set for December 2, 2010, pursuant to 18 U.S.C. §§ 3161(h)(7)(B)(ii) and (iv)
           10   [complexity and reasonable time to prepare] (Local Codes T2 and T4).
           11
           12   Dated: September 22, 2010                     DONALD H. HELLER,
                                                              A Law Corporation
           13
                                                              /S/___________________________________
           14
                                                              DONALD H. HELLER
           15                                                 Attorneys for John Pierre Quintana

           16
                        IT IS SO ORDERED.
           17
           18
                DATED: October 4, 2010
           19
                                                          __________________________________
           20
                                                          MORRISON C. ENGLAND, JR
           21                                             UNITED STATES DISTRICT JUDGE

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                USA v. BHAMANI, et al.                                                  CASE NO. 2:10-CR-00327-MCE




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